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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 16-0166 FMO (RAOx)                              Date     March 23, 2018
 Title             LFP IP, LLC v. Lee Keith Brett




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                            None
                Deputy Clerk                    Court Reporter / Recorder               Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                     None Present
 Proceedings:              (In Chambers) Order Re: Cross-Motions for Summary Judgment

       Having reviewed and considered all the briefing filed with respect to the parties’ Joint Brief
re: Summary Judgment Motions (Dkt. 38, “Joint Brief”), the court finds that oral argument is not
necessary to resolve the motions, see Fed. R. Civ. P. 78; Local Rule 7-15; Willis v. Pac. Mar.
Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001), and concludes as follows.

        On January 8, 2016, plaintiff LFP IP, LLC (“LFP” or “plaintifff”) filed its Complaint, asserting
claims for: (1) trademark infringement, 15 U.S.C. § 1114, et seq.; (2) unfair competition - false
designation of origin, 15 U.S.C. § 1125(a); (3) trademark dilution, 15 U.S.C. § 1125(c); and (4)
violation of the Anticybersquatting Consumer Protection Act,15 U.S.C. § 1125(d)(1)(A). (See Dkt.
1, Complaint at ¶¶ 22-47). Defendant Lee Keith Brett (“Brett” or “defendant”) answered the
Complaint, and later filed an amended answer on August 3, 2016. (See Dkt. 17, Answer; Dkt. 23,
“Amended Answer”). In the Amended Answer, Brett asserted two counterclaims, (see Dkt. 23,
Amended Answer at ECF 153), which the parties later stipulated to dismiss. (See Dkt. 30,
Stipulation for Dismissal of Counterclaims Asserted by Defendant Lee Keith Brett at 2).

        Plaintiff seeks summary judgment on its claims for trademark infringement, unfair
competition, and violation of the Anticybersquatting Consumer Protection Act. (See Dkt. 37,
Notice of Joint Motions for Summary Judgment at 2). Plaintiff contests defendant’s alleged use
of its word marks, not its logo. (See, generally, id.). Defendant seeks summary judgment on his
contentions that (1) “LFP’s HUSTLER ® marks are NOT famous and widely recognized by the
general consuming public of the United States” and (2) “Plaintiff’s HUSTLER ® marks are NOT
well-known by the general consuming public of the United States.” (See id.). Defendant also
seeks a “[m]otion to dismiss on his contention that ‘Hustler is a generic word.’” (See id.).

        In determining whether a triable issue of material fact exists, the evidence must be
considered in the light most favorable to the nonmoving party. See Barlow v. Ground, 943 F.2d
1132, 1134 (9th Cir. 1991), cert. denied 505 U.S. 1206 (1992). Here, with respect to plaintiff’s
claims, taking the evidence in the light most favorable to defendant, there are genuine issues of
material fact as to the likelihood of confusion factors, including the strength of the marks, the
similarity of the marks, and whether there has been actual confusion. See Network Automation,
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Inc. v. Advanced Sys. Concepts, Inc., 638 F.3d 1137, 1145 (9th Cir. 2011) (citing AMF Inc. v.
Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979)). There are issues of fact as to whether
defendant’s website and merchandise, which use the mark at issue in varying ways and to
different degrees, (compare, e.g., Dkt. 39-3, Declaration of Tina Ryoo (“Ryoo Decl.”) at ¶¶ 4-5 &
Dkt. 39-12, Joint Appendix at Exhibit H (plaintiff’s graphic designs and styles), with Ryoo Decl. at
¶ 8 & 39-21, Joint Appendix at Exhibit Q (defendant’s website), with Ryoo Decl. at ¶ 11
(defendant’s graphics incorporate gaming and poker), with Dkt. 42, Declaration of Lee Keith Brett
(“Brett Decl.”) at ¶¶ 6-7 (hustler associated with pool/billiard industries), with id. at ¶ 13 (hustling
involves “luring someone of probably lesser skill into gambling”)), are likely to cause consumer
confusion. It is up to a jury to determine, for example, whether defendant’s shirts bearing the
terms “American Hustler,” “American Hustle,” and images of a red star, eagle, outline of a spade,
and other imagery, (see Dkt. 39-21, Joint Appendix at Exhibit Q), are sufficiently similar to
plaintiff’s merchandise bearing the word “HUSTLER”, (see, e.g., Dkt. 39-12, Joint Appendix at
Exhibit H; Dkt. 39-3, Ryoo Decl. at ¶ 11), to constitute infringement of plaintiff’s marks. Because
likelihood of confusion “is based on a non-exhaustive, multi-factor, fact-intensive inquiry, [the Ninth
Circuit has] cautioned against granting summary judgment in these cases.” JL Beverage Co., LLC
v. Jim Beam Brands Co., 828 F.3d 1098, 1105 (9th Cir. 2016); see Rearden LLC v. Rearden
Commerce, Inc., 683 F.3d 1190, 1210 (9th Cir. 2012) (“Given the open-ended nature of this
multi-prong inquiry, it is not surprising that summary judgment on ‘likelihood of confusion’ grounds
is generally disfavored.”); Au-Tomotive Gold, Inc. v. Volkswagen of Am., Inc., 457 F.3d 1062, 1075
(9th Cir. 2006), cert. denied, 549 U.S. 1282 (2007) (“Because the likelihood of confusion is often
a fact-intensive inquiry, courts are generally reluctant to decide this issue at the summary
judgment stage.”).

       With respect to the Anticybersquatting Consumer Protection Act claim, there are issues of
fact as to whether defendant’s domain name, www.americanhustlerclothing.com, is “identical or
confusingly similar to a protected mark owned by the plaintiff” and whether defendant acted “with
bad faith intent to profit from that mark.” See DSPT Int’l, Inc. v. Nahum, 624 F.3d 1213, 1218-19
(9th Cir. 2010) (internal quotation marks omitted). The factual dispute is readily apparent when
one considers that defendant has put forth evidence that he associates the hustler term with
professional pool and the reason for using the years 1971 and 1974 is tied to his own birth year
and that of his ex-girlfriend. (Compare Dkt. 38, Joint Brief at 8-9; Dkt. 39, Joint Statement of
Uncontroverted Facts at P37-40; Dkt. 39-3, Ryoo Decl. at ¶ 10, with Dkt. 38, Joint Brief at 23 n.
6 (“The defendant was born in 1974, the defendants ex girlfriend Reni Rose was born in 1971 .
. . [That is t]he reason why some designs have 1974 or 1971 on them.”); see Dkt. 39, Joint
Statement of Uncontroverted Facts at D48; Dkt. 42, Brett Decl. at ¶¶ 6-7, 13).

        As to defendant’s cross-motion, (see Dkt. 38, Joint Brief at 36-41), there is also an issue
of fact as to whether the Hustler marks are well-known and generic. “[A] plaintiff alleging
infringement of a federally-registered mark is entitled to a presumption that the mark is not
generic.” Yellow Cab Co. of Sacramento v. Yellow Cab of Elk Grove, Inc., 419 F.3d 925, 928 (9th
Cir. 2005). Here, there is a genuine issue of material fact as to the famousness and genericness
of the term “hustler,” as the parties dispute whether consumers understand the word to refer only
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to plaintiff’s goods or whether the consumer understands the word to refer to the all such goods,
irrespective of the supplier, as well as the extent of actual recognition of the mark. See id. at 929
(“The term ‘yellow cab’ was not originally coined by Yellow Cab of Sacramento, nor was the
concept of the taxi cab.”); 15 U.S.C. § 1125(c)(2)(A) (setting out four factors the court may
consider to determine the degree of fame a mark retains: (I) the “duration, extent, and geographic
reach of advertising and publicity[;]” (ii) the “amount, volume, and geographic extent of sales[;]”
(iii) the “extent of actual recognition of the mark[;]” and (iv) “[w]hether the mark was registered
under the Act of March 3, 1881, or the Act of February 20, 1905, or on the principal register”);
(compare Dkt. 38, Joint Brief at 37-43, with id. at 44-45). Under the circumstances, a jury could
find that the term Hustler is well-known and not generic.

     This Order is not intended for publication. Nor is it intended to be included in or
submitted to any online service such as Westlaw or Lexis.

     Based on the foregoing, IT IS ORDERED THAT the parties’ cross-motions for summary
judgment (Document No. 37) are denied.




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                                                      Initials of Preparer            vdr




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